               Case 04-10427-reg          Doc 624     Filed 04/14/05    Page 1 of 23




                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF INDIANA
                                   FORT WAYNE DIVISION

IN THE MATTER OF:                                       )
                                                        )
AUBURN FOUNDRY, INC.                                    )              Chapter 11
                                                        )
                          Debtor.                       )              BK Case No. 04-10427

                                    CERTIFICATE OF SERVICE

                   I certify that a copy of the Notice of Motion and Opportunity to Object to Motion

to Approve Sale of Manufacturing Plants and Related Assets Free and Clear of Liens, Claims

and Interests, and proposed Order was served first-class United States mail, postage prepaid, on

April 14, 2005 upon the following parties or counsel:




BDDB01 4031025v1
                               Case 04-10427-reg   Doc 624         Filed 04/14/05   Page 2 of 23
Label Matrix for USBC                     0 C TANNER                                  3M VALLEY
Northern District of Indiana              1930 SOUTH STATE STREET                     600 E. MEIGS
Case 04-10427-reg                         SALT LAKE CITY, UT 84115                    VALLEY, NE 68064-0368
Wed Apr 13 13:09:31 EDT 2005


A T & T                                   A-1 JANITORIAL SERVICE                      A. F. Europe, Inc.
P.O. Box 96001309                         PO BOX 241                                  c/o Sommer Barnard Ackerson PC
Louisville, KY 40290-1309                 WATERLOO, IN 46793                          Attn: Jerald I. Ancel
                                                                                      One Indiana Square, Suite 3500
                                                                                      Indianapolis, IN 46204-2023, 46204-2023

A.F. EUROPE, INC.                         ABB Inc.                                    ABB METALLURGY INC
635 W. ELEVENTH STREET                    9000 Regency Park                           1460 LIVINGSTON AVE
AUBURN, IN 46706                          Suite 300                                   NORTH BRUNSWICK, NJ 08902
                                          Cary, NC 27511


ABF FREIGHT SYSTEM INC.                   ACORDIA                                     ADDIS INC
3320 N. WELLS ST.                         P.O. BOX 885                                3721 LEE ROAD
FORT WAYNE, IN 46808                      FT WAYNE, IN 46801-0885                     CLEVELAND, OH 44120



ADMETCO                                   AERO-MOTIVE MANUFACTURING                   AIR PRODUCTS AND CHEMICALS
7625 VICKSBURG PIKE                       5688 EAST ML AVE                            PO BOX 25745
FORT WAYNE, IN 46850                      KALAMAZOO, MI 49001                         LEHIGH VALLEY, PA 18002-5742



AIR TECHNICS INC.                         AIRBORNE EXPRESS                            AIRTECH ENVIRONMENTAL SERVICES
2652 MERRIMONT DRIVE                      P.O. BOX 91001                              601A COUNTRY CLUB DRIVE
TROY, OH 45373                            SEATTLE, WA 98111                           BENSENVILLE, IL 60106



ALFA FINANCIAL CORPORATION                ALLEN PATTERN WORKS INC.                    ALRO STEEL CORPORATION
56 COLONIAL PARK DRIVE SUITE 200          616 EAST WALLACE STREET                     PO BOX 10360
ROSWELL, GA 30075                         P.O. BOX 10540                              FT WAYNE, IN 46851-0360
                                          FORT WAYNE, IN 46803


AMERICAN BIO MEDICA CORPORATION           AMERICAN WIRE ROPE AND SLING                AMETEK INC.
122 SMITH ROAD                            3122 ENGLE ROAD                             900 GREENBANK ROAD
KINDERHOOK, NY 12106                      FORT WAYNE, IN 46809                        WILMINGTON, DE 19808



APPLIED METALS & MACHINE WORKS            ARAB PEST CONTROL                           ARROW FENCE COMPANY, INC.
1036 ST. MARYS AVENUE                     1130 PION RD                                318 EDGEWOOD AVENUE
FORT WAYNE, IN 46808                      FORT WAYNE, IN 46825                        FORT WAYNE, IN 46805



ARROW SERVICES INC                        ASHLAND CHEMICAL CO                         AUBURN CITY UTILITIES
4121 NORTHRUP                             P 0 BOX 395                                 PO BOX 506
FT WAYNE, IN 46805                        COLUMBUS, OH 43216-0395                     AUBURN, IN 46706
                              Case 04-10427-reg    Doc 624        Filed 04/14/05    Page 3 of 23
AUBURN INN                                AUSTIN PETROLEUM INC.                       AUTO ELECTRIC
225 TOURING DRIVE                         99 E. JOE STREET                            709 E WASHINGTON
AUBURN, IN 46706                          HUNTINQTON, IN 46750                        FT WAYNE, IN 46802



AUTOMATIC DATA PROCESSING                 AZTEC MILLENNIUM SUPPLY, I                  Air Products and Chemicals
OF INDIANAPOLIS INC                       8411 MAYHEW ROAD                            Tom Jacob A6313
P.O. BOX 80419                            FORT WAYNE, IN 46835                        7201 Hamilton Blvd.
INDIANAPOLIS, IN 46280-0419                                                           Allentown, PA 18195


American Arbitration Association          American Distribution Assoc.                American Express Travel Related SVCS CO
335 Madison Ave., 10th Fl.                335 Madison Ave., 10th Fl.                  c/o Becket & Lee LLP
New York, NY 10017                        New York, NY 10017                          PO Box 3001, Dept AC
                                                                                      Malvern, PA 19355-0701


American Express Travel Related Svcs Co   American Express Travel Related Svcs Co     Anne Meeks Davis Trust
Becket and Lee LLP, Attorneys/Agent       c/o Becket and Lee, LLP                     c/o James Borgmann, Esq.
P.O. Box 3001                             P.O. Box 3001                               201 East Jackson Street, Suite 400
Malvern, PA 19355-0701                    Malvern, PA 19355-0701                      Muncie, IN 46306-2847


Antibus Scales and Systems                Arch Wireless                               Ashland Incorporated
4809 Illinois Road                        Attn: Division 19                           Ashland Inc.
Fort Wayne, IN 46804                      11570 Mosteller Road                        Collection Dept. DS3
                                          Cincinnati OH 45241                         PO Box 2219
                                                                                      Columbus, OH 43216, 43216

Ashland, Inc.                             Auburn Chrysler, Dodge, & Jeep, Inc.        Auburn Foundry, Inc.
Collection Dept.                          507 South Grandstaff Drive                  635 W. Eleventh Street
P.O. Box 2219                             Auburn, IN 46706                            Auburn, IN 46706
Columbus, OH 43216


Austin Petroleum, Inc.                    B-P INDUSTRIAL DIVISION                     BADEN, GAGE & SCHROEDER, LLC
c/o Ron Ellis, President                  8432 CENTRAL AVE., SUITE 3                  6920 POINTE INVERNESS WAY, SUITE 300
99 East Joe Street                        SYLVANIA, OH 43560                          FORT WAYNE, IN 46804
Huntington, IN 46750


BANK OF AMERICA                           BASSETT OFFICE SUPPLY INC                   BAYARD ADVERTISING AGENCY
231 S. LASALLE STREET, 16TH FLOOR         509 SOUTH MAIN STREET                       902 BROADWAY, 10TH FLOOR
CHICAGO, IL 60697                         AUBURN, IN 46706                            NEW YORK, NY 10010



BBC PUMP AND EQUIPMENT CO., INC.          BBC Pump and Equipment Co., Inc.            BBC Pump and Equipment Co., Inc.
1125 WEST 16TH ST                         777 N. Tibbs Ave.                           777 N. Tibbs Avenue
PO BOX 22098                              PO Box 22098                                PO Box 22099
INDIANAPOLIS, IN 46222                    Indianapolis, IN 46222                      Indianapolis, IN 46222


BEARDSLEY AND PIPER, LLC                  BELCON CORP.                                BGR INC
751 SHORELINE DRIVE                       P.O. BOX 4763                               25703 SPRINGFIELD CENTER ROAD
AURORA, IL 60504                          OAK BROOK, IL 60522-4763                    HARLAN, IN 46743
                              Case 04-10427-reg   Doc 624         Filed 04/14/05   Page 4 of 23
BGR Inc.                                 BISBEE INFARED SERVICES                     BLISS CLEARING NIAGRA, INC.
6392 Grand Road                          1304 W MICHIGAN                             683 NORTHLAND AVENUE
West Chester, Ohio 45069                 JACKSON, MI 49204                           BUFFALO, NY 14211



BLUE FLAME OF WATERLOO                   BOBCAT FINANCIAL SERVICES                   BOBCAT OF FORT WAYNE
P.O. BOX 428                             8001 RIDGEPOINT DRIVE                       3630 GOSHEN ROAD
WATERLOO, IN 46793                       IRVING, TX 75063                            FORT WAYNE, IN 46818



BOHL CRANE INC                           BOHREN LOGISTICS, INC.                      BOHREN-MERCER WAREHOUSE AND DISTRIBUTION
1930 LAKEVIEW DRIVE                      325 N. TAYLOR ROAD                          325 N. TAYLOR RD
FT WAYNE, IN 46808                       GARRETT, IN 46738                           GARRETT, IN 46738



BOSTWICK-BRAUN COMPANY                   BPC - BELL PACKAGING CORPORATION            BPC - Bell Packaging Corporation
ST RD 4 169                              PO BOX 3333                                 PO Box 3006
ASHLEY, IN 46705                         MARION, IN 46953-0333                       Marion, IN 46953-0333



BRAKE MATERIALS & PARTS INC              BREAD BASKET                                BRECHBUHLER SCALES
800 SHERMAN AT PAPE                      115 NORTH MAIN STREET                       3306 CAVALIER DRIVE
FORT WAYNE, IN 46808                     AUBURN, IN 46706                            FORT WAYNE, IN 46808



BREHOB ELECTRIC EQUIPMENT INC.           BRIAN S AUTOMOTIVE CENTER                   BRISTAL METAL PRODUCTS, INC
1334 SOUTH MERIDIAN STRET                1110 SOUTH GRANDSTAFF DRIVE                 3000 LEBANON CHURCH ROAD
INDIANAPOLIS, IN 46225                   AUBURN, IN 46706                            WEST MIFFLIN, PA 15122



BUSINESS IMPRESSIONS                     BUTLER & BUTLER CONSTRUCTION                Bank of America, National Association
509 S MAIN ST                            1803 GRANDSTAFF DRIVE SOUTH                 231 S. LaSalle, 16th Floor
AUBURN, IN 46706                         AUBURN, IN 46706                            Chicago, IL 60697



Beardsley & Piper LLC                    Becket & Lee, LLP                           Best Access Systems
751 Shareline Drive                      PO Box 3001                                 6161 E. 75th St.
Aurora, IL 60504                         16 General Warren Blvd                      Indianapolis, IN 46250
                                         Malvern, PA 19355


Bobcat of Fort Wayne, Inc.               Bohl Equipment Company                      Bostwick-Braun
3630 Goshen Road                         534 W. Laskey Rd.                           1946 N. 13th Street
Fort Wayne, IN 46818                     Toledo, OH 43612                            Toledo, OH 43624



Bostwick-Braun Company                   Gary D. Boyn                                Brehob Corp.
1946 North 13th Street                   121 W. Franklin Street                      P O Box 2023
Toledo, OH                               Elkhart, IN 46516                           Indianapolis IN 46206-2023
43624
                                Case 04-10427-reg   Doc 624         Filed 04/14/05   Page 5 of 23
Brehob Electric Equipment Inc.             John R. Burns(DM)                           John R. Burns(JF)
P.O. Box 2023                              111 East Wayne Street                       Baker & Daniels
Indianapolis, IN 46225                     Fort Wayne, IN 46802                        111 E. Wayne Street
                                                                                       Suite 800
                                                                                       Fort Wayne, IN 46802

John Burns(SR)                             C A PICARD SURFACE ENGINEER                 C MILLER & SONS INC
111 East Wayne Street                      SURFACE ENGINEERING DIVISION, INC.          6707 GABION WAY
Suite 800                                  689 SUGAR LANE                              FT WAYNE, IN 46818
Fort Wayne, IN 46802                       ELYRIA, OH 44035


CALAR INC                                  CAMS, INC.                                  CAMWAY TRANSPORTATION CORP
1010 C WEST SEVENTH STREET                 495 VILLAGE PARK DRIVE                      7846 WEST CENTRAL AVENUE
AUBURN, IN 46706                           POWELL, OH 43065                            TOLEDO. OH 43617



CANTEEN                                    CARPENTER BROTHERS INC.                     CARPER FARM SUPPLY INC
2715 AMERICAN WAY                          6120 NORTON CENTER DRIVE                    PO BOX 159
FORT WAYNE, IN 46809                       MUSKEGON, MI 49441                          ASHLEY, IN 46705



CARRIER VIBRATING EQUIPMENT                CASCADE PATTERN COMPANY                     CC METALS AND ALLOYS INC
P.O. BOX 37070                             5191 TERNES AVENUE                          UNIVERSITY CORPORATE CENTRE
LOUISVILLE, KY 40233-7070                  ELYRIA, OH 44035                            300 CORPORATE PARKWAY - 216N
                                                                                       AMHERST, NY 14226


CERTANIUM. ALLOYS & RESEARCH               CERTIFIED REDUCER REBUILDERS                CINCINNATI PLUS
6510 NORTHPARK BLVD.                       32079 MILTON                                PARTS DIVISION
CHARLOTTE, NC 28216                        MADISON HEIGHTS, MI 48071                   4701 MARBURG AVENUE
                                                                                       CINCINNATI, OH 45209


CITIZENS GAS & COKE UTILITIES              CITY OF AUBURN                              CLASSIC CITY AUTOMOTIVE INC
2020 NORTH MERIDIAN STREET                 % REBECCA FULLER                            503 MICHIGAN AVENUE
INDIANAPOLIS, IN 46202                     P.O.BOX 506                                 AUBURN, IN 46706
                                           AUBURN, IN 46706


CLEAN CONVEYOR SOLUTIONS                   COMPLETE DRIVES INC                         COMPLETE MAINTENANCE & STA
DIVISION OF CVP GROUP, INC.                1542 W. AUBURN DRIVE                        5405 HURSH ROAD
P.O. BOX 67                                AUBURN, IN 46706                            FORT WAYNE, IN 46845
WILLOW SPRINGS, IL 60480-0067


COMTRONIX CORPORATION                      CONSOLIDATED INDUSTRIES                     COPELCO CAPITAL, INC.
2213 EAST 45TH STREET                      6228 HOLLY OAK DRIVE                        P.O. BOX 728
INDIANAPOLIS, IN 46205-2297                FORT WAYNE, IN 46818                        PARK RIDGE, NJ 07656



COPPER AND BRASS SALES INC.                CORE TECH INC                               COTTERMAN COMPANY
530 NORTHFIELD DRIVE                       6000 OLD MAUMEE RD                          130 SELTZER ROAD
BROWNSBURG, IN 46112                       FT WAYNE, IN 46803                          CROSWELL, MI 48422
                              Case 04-10427-reg   Doc 624        Filed 04/14/05   Page 6 of 23
COVERT MANUFACTURING INC.                COVINGTON BOX                              CROSIBLE INC.
328 SOUTH EAST STREET                    3514 US 6                                  P.O. BOX 271
GALION, OH 44833                         WATERLOO, IN 46793                         MORAVIA, NY 13118



CRYSTAL CLEAN                            CURRENT INC                                CURTIS 1000
C O PETROLEUM MANAGEMENT                 2120 E. WASHINGTON                         PO BOX 11271
7901 WEST MORRIS ST.                     FT WAYNE, IN 46803-1329                    FT WAYNE, IN 46856
INDIANAPOLIS, IN 46231


CUSTOM ENGINEERING & FABRICATION         Calar Inc.                                 Carolyn D. Honer
2471 CR 64                               PO Box 458                                 C/O Keaton And Keaton
AUBURN, IN 46706                         Syracuse, IN 46567                         P.O. Box 11208
                                                                                    Fort Wayne, IN 46856-1208


Cascade Pattern Co.                      Cascade Pattern Company                    Centennial Wireless
c/o Brian Green                          Shapero, Green & Michel LLC                421 Fernhill Avenue
25101 Chagrin Blvd., Suite 220           Signature Square II, Suite 220             Fort Wayne, IN 46805
Beachwood, Ohio 44122                    25101 Chagrin Blvd.
                                         Cleveland, OH 44122

Ceruti’s Catering                        Christy Davis Trust                        Citizens Gas & Coke Utility
615 Professional Way                     c/o Sommer Barnard Ackerson PC             Michael McGauhey
Kendallville, IN 46755                   Attn: Jerald I. Ancel                      2950 Propect Street
                                         One Indiana Square, Suite 3500             Indianapolis, IN 46203
                                         Indianapolis, IN 46204-2023, 46204-202

City of Auburn                           City of Auburn                             City of Auburn
c/o W. Erik Weber                        c/o Edmund P. Kos                          c/o W. Erik Weber
130 East 7th Street                      Kos & Associate                            130 East 7th Street
Auburn, IN 46706                         110 West Berry Street, Suite 1904          Auburn, IN 46706-1839
                                         Fort Wayne, IN 46802

Commissioner of Labor/IOSHA              Complete Drives Inc.                       Complete Drives Inc.
402 W. Washington Street, RM W-195       6419 Discount Dr.                          6419 Discount Drive
Indianapolis, IN 46204                   Fort Wayne, IN 46818                       Fort Wayne, IN 46818



Complete Maintenance & Staffing, Inc.    Corporate Benefit Strategy                 Covington Box & Packaging, Inc.
5405 Hursh Road                          5181 Plainfield Ave. NE, Suite D           c/o Beckman Lawson, LLP
Fort Wayne, IN 46845                     Grand Rapids, MI 46535                     Attn: Howard B. Sandler, Esq.
                                                                                    PO Box 800
                                                                                    Fort Wayne, IN 46801-0800, 46801-0800

Crown Equipment Corporation              Lawrence S. Crowther                       Custom Engineering & Fabrication
1919 Research Drive                      6055 Rockside Woods Blvd, Suite 200        1631 East Pontiac St.
Fort Wayne, IN 46808                     Cleveland, OH 44131                        Fort Wayne, IN 46803



Custom Engineering & Fabrication         D.A.S. SERVICES, INC.                      DAUBER COMPANY INC
1631 East Pontiac Street                 2310 WEST 175 NORTH                        577 NORTH 18TH ROAD
Fort Wayne, IN 46809                     ANGOLA, IN 46703                           TONICA, IL 61370
                              Case 04-10427-reg     Doc 624         Filed 04/14/05   Page 7 of 23
DAVID B. FINK                              DAVID J. JOSEPH COMPANY                     DEKALB COUNTY TREASURER
P.O. BOX 72                                659 VAN METER STREET, SUITE 530             COURTHOUSE
AUBURN, IN 46706                           CINCINNATI, OH 45202                        AUBURN, IN 46706



DEKALB COUNTY, INDIANA                     DEKALB ENGINEERING                          DEKALB MEMORIAL HOSPITAL
DEKALB COUNTY ASSESSOR, COURT HOUSE        700 E QUINCY STREET                         PO BOX 542
100 SOUTH MAIN STREET                      GARRETT, IN 46738                           AUBURN, IN 46706
AUBURN, IN 46706


DELL FINANCIAL SERVICES, L.P.              DIAMOND POWER SPECIALTY CO                  DICTATING & TIME SYSTEMS
14050 SUMMIT DRIVE, BLDG. A, SUITE 101     2520 EAST MAIN STREET                       2212 SOUTH CALHOUN STREET
AUSTIN, TX 78758                           LANCASTER, OH 43130-0787                    FORT WAYNE, IN 46802



DIETERT FOUNDRY TESTING INC                DIGITAL COMMUNICATION PROD                  DIGITAL REPROGRAPHICS, INC.
9190 ROSE LAWN AVE.                        3720 SOUTH CALHOUN STREET                   105 CHAMBEAU ROAD
DETROIT, MI 48204                          FT WAYNE, IN 46862-2107                     FORT WAYNE, IN 46805



DISA GOFF, INC.                            DISA INDUSTRIES INC.                        DISA INDUSTRIES, INC.
I PLEASANT GROVE ROAD                      80 KENDALL POINT DRIVE                      80 KENDALL POINT DRIVE
SEMINOLE, OK 74868                         OSWEGO, IL 60543                            OSWEGO, IL 60543



DISA Industrie, Inc.                       DIVERSIFIED PATTERN & ENG                   DOALL SOUTH BEND CO INC
Randall A. Miller                          100 PROGRESS WAY                            802 S. BEIGER ST.
80 Kendall Point Drive                     AVILLA, IN 46710-0230                       MISHAWAKA, IN 46544
Oswego, IL 60543


DON R FRUCHEY INC                          DORSCH TOOL & ENG CO                        DR LUBRICANTS INC
5608 OLD MAUMEE ROAD                       3419 GEORGETOWN RD                          4611 NEWAYGO ROAD, SUITE D
FT WAYNE, IN 46803                         INDIANAPOLIS, IN 46224                      FT WAYNE, IN 46825



DUCA MANUFACTURING INC                     DUFFY OFFICE PRODUCTS                       DURAFLO EQUIPMENT COMPANY, INC.
761 MCCLURG ROAD                           7712 LIMA ROAD                              1737 MASSACHUSETTS AVENUE
BOARDMAN, OH 44512                         FORT WAYNE, IN 46818                        INDIANAPOLIS, IN 46201



Daniel T. March                            Dauber Company Inc.                         David B. Fink, Debtor by G. D. Boynm, Tr
C/O John C. Grimm                          577 North 18th Road                         c/o Warrick & Boyn LLP
P.O. Box 31                                Tonica, IL 61370                            Attn: Gary D. Boyn
Auburn, IN 46706                                                                       121 West Franklin Street, Suite 400
                                                                                       Elkhart, IN 46516-3278, 46516-3278

David Burr Fink, by Tower Bank & Trust C   David Hunter                                David M. Meeks Jr. Trust
Tower Bank & Trust Co., as Trustee         5206 N. Manitou Trail                       c/o James Borgmann, Esq.
c/o Martin E. Seifert, Esq.                Leland, MI 49654                            201 East Jackson Street, Suite 400
Haller & Colvin, P.C.                                                                  Muncie, IN 46305-2847
444 East Main Street, Fort Wayne, IN 468
                              Case 04-10427-reg   Doc 624        Filed 04/14/05   Page 8 of 23
David Weber                              Dayton Freight                             Dayton Freight Lines Inc
4213 Arkway Ct.                          PO Box 340                                 6450 Poe Ave. Ste 311
Fort Wayne, IN 46814                     Vandalia, OH 45377                         Dayton, Ohio 45414



DeKalb Co. Nuisance Animal Control       Dell Financial Services                    Detrick L. Franklin
4107 CR 35                               PO Box 99200                               C/O Chritopher C. Myers
Auburn, IN 46706                         Chicago, IL 60693                          809 S. Calhoun St., Ste 400
                                                                                    Fort Wayne, IN 46802


Detrick L. Franklin                      Dick Taylor Consulting 635 Land 425        Digital Communication Prod.
c/o Christopher C. Myers                 Jimmerson Lake                             3720 South Calhoun Street
Christopher C. Myers & Associates        Fremont, IN 46737                          Fort Wayne, IN 46807
809 S. Calhoun St., Ste. 400
Fort Wayne, IN 46802, 46802

Disa Goff, Inc.                          Don R. Fruchey, Inc.                       Duraflo Equipment Company, Inc.
PO Box 1607                              Kent C. Litchin                            3910 - B Culligan Avenue
Seminole, OK 74818                       Grossman & Litchin LLP                     Indianapolis, IN 46218
                                         1600 Lincoln Tower
                                         Fort Wayne, Indiana 46802, 46802

Duraflo Equipment Company, Inc.          E-FILLIATE INC.                            EAGLE FOUNTAIN WORKS, INC.
3910-B Culligan Avenue                   11321 WHITE ROCK RD                        8 WINCHESTER ROAD
Indianapolis, IN 46218                   RANCHO CORDOVA, CA 95742                   ORMOND BEACH, FL 32174



EASTERN ENGINEERING SUPPLY               ECLECTRIC COMPANY                          EDGLO LABORATORIES INC
2810 NORTH WHEELING                      18315 RICHEY LANE                          2107 EAST WASHINGTON BLVD
MUNCIE, IN 47303                         HUNTERTOWN, IN 46748                       FT WAYNE, IN 46803



EDS                                      EDWARDS MEDICAL                            EIRICH MACHINES INC
PO BOX 4582                              495 WOODCREEK DRIVE                        4033 RYAN RD
POSTAL STATION A                         BOLINGBROOK, IL 60440                      GURNEE, IL 60031
TORONTO, ON M5W 4W4


ELEVENTH STREET CAPITAL, LL              ELKEM METALS INC.                          ELY CRANE & HOIST
635 WEST ELEVENTH STREET                 P 0 BOX 266                                1247 EAST 222ND STREET
AUBURN, IN 46706                         PITTSBURGH, PA 15230-0266                  EUCLID, OH 44117



EMED COMPANY INC.                        EMERGENCY RADIO SERVICE                    EMPIRE REFRACTORY SALES INC
P.O. BOX 369                             4410 EARTH DRIVE                           3525 METRO DRIVE
BUFFALO, NY 14240-0369                   FORT WAYNE, IN 46809                       FORT WAYNE, IN 46818



EMPLOYER S SECURITY INC                  ENCO MFG CO                                ENGINEERED TOOLING
PO BOX 1045                              400 NEVADA PACIFIC HIGHWAY                 P.O. BOX 48
ELKHART, IN 46515                        FERNLEY, NV 89408                          ALBION, IN 46701
                                Case 04-10427-reg   Doc 624         Filed 04/14/05   Page 9 of 23
ENVIRO CONTROL METALS                      EPIC MACHINE                                ERNST AND YOUNG LLP
650 CHESTNUT STREET S.W                    201 INDUSTRIAL WAY                          PO BOX 710884
GRAND RAPIDS, MI 49503                     FENTON, MI 48430                            CINCINNATI, OH 45271-0884



EWALD ENTERPRISES INC                      EXECUTONE INFORMATION SYSTEMS               Earth Tech, Inc.
PO BOX 80165                               ATTN LCR DEPARTMENT                         5555 Glenwood Hills Pkwy. S.E.
FT WAYNE, IN 46898-0165                    P.O. BOX 52843                              Grand Rapids, MI 49512
                                           PHOENIX, AZ 85072-2843


Edglo Laboratories Inc.                    Edglo Laboratories, Inc.                    Edwin P. Rosebrock
2121 E. Washington Blvd.                   2121 East Washington Blvd.                  PO Box 383
Fort Wayne, IN 46803                       Fort Wayne, IN 46803                        Auburn, IN 46706



Edwin P. Rosebrock                         Edwin P. and Mary K. Rosebrock              Henry A. Efroymson
Patrick L. Proctor                         C/O Patrick Procter, Eilbacher Scott        Ice Miller
803 South Calhoun St., 4th Floor           110 W. Berry St., Ste 2202                  One American Square
Fort Wayne, IN 46802                       Fort Wayne, IN 46802                        Box 82001
                                                                                       Indianapolis, IN 46282

Eleventh Street Capital, LLC               Eleventh Street Capital, LLC                Elkem Metals Inc.
c/o Sommer Barnard Ackerson                c/o Sommer Barnard Ackerson PC              Stacy Cairns
Attn: Jerald I. Ancel                      Attn: Jerald I. Ancel                       PO Box 266
One Indiana Square, Suite 3500             One Indiana Square, Suite 3500              Pittsburgh, PA 15230
Indianapolis, IN 46204-2023, 46204-202     Indianapolis, IN 46204-2023, 46204-202

Elliot Transport System, Inc.              Enco Manufacturing Company, Inc.            Enco Mfg Co
MC 250424                                  PO Box 357                                  P.O. Box 357
4104-32nd Avenue South                     Farmingdale, NY 11735                       Farmingdale, NY 11735
Moorhead, MN 56561-0366


Eric Davis                                 Ewald Enterprises Inc                       FAIRMOUNT MINERALS
1565 West Maumee Street                    PO Box 80165                                P 0 BOX 400
Angola, IN 46703                           Ft. Wayne, IN 46898-0165                    BRIDGEMAN, MI 49106
                                           Attn: Daniel R. Ewald


FALCON FOUNDRY CO                          FARGO WEAR INC                              FIRE PROTECTION INC
PO BOX 301                                 1801 CANIFF AVENUE                          750 W NORTH ST SUITE C
LOWELLVILLE, OH 44436-0301                 DETROIT, MI 48212-2917                      AUBURN, IN 46706



FLEX-PAC, INC.                             FMTHUR                                      FOSECO INC
7113 SOUTH MAYFLOWER PARK                  8408 MANOR DRIVE                            20200 SHELDON ROAD
ZIONSVILLE. IN 46077                       FORT WAYNE, IN 46825                        BROOK PARK, OH 44142



FOX CONTRACTORS CORP.                      FRANK H GILL COMPANY                        FRANKLIN CAPITAL FINANCIAL SERVICES, LLC
5430 FERGUSON ROAD                         2859 BERNICE ROAD                           112 NORTH GRANT STREET
FORT WAYNE, IN 46809                       LANSING, IL 60438                           NORTH AURORA, IL 60542
                               Case 04-10427-reg   Doc 624        Filed 04/14/05   Page 10 of 23
FREEMAN MFG & SUPPLY COMPANY               FRISKNEY GEAR & MACHINE CORP               FT WAYNE ORTHOPAEDICS
27655 GROESBECK HWY                        350 NORTH BRIDGE STREET                    P.O. BOX 2526
ROSEVILLE, MI 48066                        CORUNNA, IN 46730                          FORT WAYNE, IN 46801



Fairmount Minerals                         Fastenal Company                           Stephen L. Fink
Michelle Pezanoski                         923 Cardinal Court                         Barnes & Thornburg
P.O. Box 177                               Auburn, IN 46706                           600 One Summit Square
Wedron, IL 60557                                                                      Fort Wayne, IN 46802


Fire Protection, Inc.                      First Insurance Funding Corp.              Fox Contractors Corp.
Curt & Tim Howard                          450 Skokie Blvd., Ste 1000                 c/o Stephen E. Lewis, Esq.
750 W. North Street                        P.O. Box 3306                              Haller & Colvin, P.C.
Auburn, IN 46706                           Northbrook, IL 60065-3306                  444 East Main Street
                                                                                      Fort Wayne, IN 46802

Fox Contractors Corp.                      Frank H Gill Company                       Frank H Gill Company
c/o Stephen E. Lewis, Esq.                 P.O. Box 703                               PO Box 703
Haller & Colvin, P.C.                      Lansing, IL 60438-0703                     Lansing, IL 60438-0703
444 East Main Street
Fort Wayne, Indiana 46802, 46802

GENERAL KINEMATICS CORP                    GEORGE E BOOTH COMPANY                     GMAC BUSINESS CREDIT, LLC
777-T LAKE ZURICH ROAD                     8202 W 10TH ST                             300 GALLERIA OFFICENTRE, STE 110
BARRINGTON, IL 60010                       INDIANAPOLIS, IN 46214-2432                SOUTHFIELD, MI 48034



GMAC Business Credit, LLC                  GMP Local 322                              GOEGLEIN I S
3000 Town Center, Suite 280                C/O Richard J. Swanson                     7311 MAYSVILLE ROAD
Southfield, MI 48075                       445 N. Pennsylvania Street, Suite 401      FORT WAYNE, IN 46815-8199
                                           Indianapolis, IN 46204-1800


GOLDEN RULE SANITATION, IN                 GRAINGER INC                               GRAYCRAFT SIGNS PLUS INC
9905 KRESS ROAD                            5002 SPEEDWAY DRIVE                        434 WEST 7TH STREET
ROANOKE, IN 46783                          FT WAYNE, IN 46825                         AUBURN, IN 46706



GREAT LAKES CARBON CORP                    GROHOLSKI MANUFACTURING SO                 Nancy J. Gargula
FOUR GREENSPOINT PLAZA,SUITE 2200          PO BOX 15742                               One Michiana Square
16945 NORTHCHASE DRIVE                     FORT WAYNE, IN 46885                       5th Floor
HOUSTON, TX 77060-2133                                                                100 East Wayne Street
                                                                                      South Bend, IN 46601

Gary G. Schock                             Gary G. Shock                              General Kinematics Corp
C/O Randal S. Forbee                       c/o Randal S. Forbes                       5050 Rickert Road
P.O. Box 374                               PO Box 374                                 Crystal Lake, IL 60014-7333
Angol, IN 46703                            Angola, IN 46703


General Motors Corporation                 Gerald L. Martin, III                      Gerald Martin
Tricia A. Sherick, Esq.                    c/o Christopher C. Myers & Associates      C/O Chritopher C. Myers
Honigman Miller Schwartz and Cohn LLP      809 S. Calhoun St., Ste. 400               809 S. Calhoun St., Ste 400
2290 First National Bldg.                  Fort Wayne, IN 46802                       Fort Wayne, IN 46802
Detroit, MI 48226, 48226
                              Case 04-10427-reg    Doc 624       Filed 04/14/05   Page 11 of 23
Glass, Molders, Pottery, Plastics and Al   Goeglein’s Inc.                           H E C 0 INC
c/o Richard J. Swanson                     7311 Maysville Road                       3509 S BURDICK ST
445 N. Pennsylvania Street, Suite 401      Fort Wayne, IN 46815-8199                 KALAMAZOO, MI 49001
Indianapolis, IN 46204


H.A. SMOLEN COMPANY INC.                   HANEY S GLASS OF AUBURN                   HARBOR METAL, INC
PO BOX 9055                                930 WEST 15TH STREET                      PO BOX 644
HIGHLAND, IN 46322                         AUBURN, IN 46706                          BENTON HARBOR, MI 49023



HARTLEY CONTROLS CORP.                     HERAEUS ELECTRO-NITE COMPANY              HICKMAN WILLIAMS & COMPANY
2400 HOLLY ROAD                            INSTRUMENT LAB                            COMMERCE PLAZA
NEENAH, WI 54956                           1418 EAST 86TH PLACE                      2015 SPRING ROAD
                                           MERRILLVILLE, IN 46410                    OAK BROOK, IL 60521


HILL AND GRIFFITH CO.                      HIPSHER TOOL & DIE, INC.                  HOOK INDUSTRIAL SALES INC.
3637 FARNSWORTH                            1593 S. STATE ROAD 115                    2731 BROOKLYN AVE.
INDIANAPOLIS, IN 46241                     WABASH, IN 46992                          PO BOX 9177
                                                                                     FORT WAYNE, IN 46899


HOOSIER TRAILER & TRUCK EQ                 HOT CREWS INC                             HYDRONIC & STEAM EQUIP CO
4830 TODD DRIVE                            PO BOX 13094                              8950 BASH STREET
FORT WAYNE, IN 46803                       FT WAYNE, IN 46803                        INDIANAPOLIS, IN 46256



Harbor Metal Treating Co. of Indiana       Heraeus Electro-Nite Company              Heraeus Electro_Nite Co.
PO Box 644                                 One Summit Square 1st Floor               One Summit Square 1st Floor
Benton Harbor, MI 49023                    Suite 100                                 Suite 100
                                           Langhorne, PA 19047                       Langhorne PA 19047


Hi-Vac Corporation                         Hickman, Williams & Company               Honigman Miller Schwartz & Cohn LLP
117 Industry Road                          PO Box 538                                2290 First National Building
Marietta, OH 45750                         Cincinnati, OH 45201                      660 Woodward Avenue
                                           Attention: T. L. Meadors                  Detroit, MI 48226


I.R.S.                                     IBM CREDIT CORPORATION                    IBM CREDIT LLC
230 S. DEARBORNE, ROOM 2560                I NORTH CASTLE DRIVE                      1 NORTH CASTLE DRIVE
5014 CHI                                   ARMONK, NY 10504-2575                     ARMONK, NY 10504-2575
CHICAGO, IL 60604


IBM Corporation                            IBM Corporation                           IBM Credit LLC
Beverly H. Shideler                        2707 Butterfield                          Beverly Shideler
Two Lincoln Centre                         Oak Brook, IL 60521                       Two Lincoln Centre
Oakbrook Terrace, IL 60181                                                           Oakbrook, IL 60181


IN Dept. of Environmental Management       INDIANA DEPARTMENT OF REVENUE             INDIANA REFRACTORIES INC.
100 North Senate Avenue                    100 NORTH SENATE                          1624 SIMONS STREET
P.O. Box 6015                              ROOM N203                                 FT. WAYNE, IN 46803
Indianapolis, IN 46204                     INDIANAPOLIS, IN 46204-2217
                             Case 04-10427-reg   Doc 624        Filed 04/14/05      Page 12 of 23
INDUCTOTHERM CORP                        INDUSTRIAL CERAMIC PRODUCT                    INDUSTRIAL MARKETING INC.
10 INDEL AVE                             14401 SUNTRA WAY                              114 W. TOLEDO STREET
RANCOCAS, NJ 08073                       MARYSVILLE, OH 43040                          FREMONT, IN 46737



INDUSTRIAL SPECIALITIES                  INDUSTRIAL TOOL SERVICE INC.                  INDUSTRIAL TUBE & STEEL CO
9621 WHITE HILL DRIVE                    612 HAYDEN STREET                             P.O. BOX 640137
FORT WAYNE, IN 46804-5953                FORT WAYNE, IN 46802                          CINCINNATI, OH 45264-0137



INDUSTRON CORPORATION                    INGERSOLL-RAND CO                             INOVIS
2044 VALLEYDALE TERRACE                  AIR COMPRESSOR GROUP                          ATTN BILLING
BIRMINGHAM, AL 35244                     2516-1 INDUSTRIAL PARK DRIVE                  2425 N. CENTRAL EXPRESSWAY
                                         GOSHEN, IN 46526                              RICHARDSON, TX 75080


INTERLUBE CORPORATION                    INTERMEC TECHNOLOGY CORP.                     INTERNATIONAL QUALITY
4646 BAKER AVENUE                        9290 LESAINT DRIVE                            521 CLEVELAND
CINCINNATI, OH 45212-2594                FAIRFIELD, OH 45014-5454                      LINCOLN PARK, MI 48146



INTERNATIONAL SURFACE PREP               IRCON INC                                     IVY TECH
1606 EXECUTIVE DR                        7300 N. NATCHEZ AVE.                          3800 NORTH ANTHONY BLVD
LAGRANGE, GA 30241                       NILES, IL 60714                               FORT WAYNE, IN 46805



Indiana Department of Revenue            Indiana Department of Revenue                 Indiana Department of Revenue
100 North Senate                         100 North Senate                              Bankruptcy Section, Room N-203
Indianapolis, IN 46204-2253              Room N203                                     100 North Senate Avenue
                                         Indianapolis IN 46204-2217                    Indianapolis, IN 46204


Indiana Department of Revenue            Indiana Department of Workforce Developm      Indiana Employment Security Division
County Tax                               Beverly Korobkin                              10 North Senate Street
100 North Senate                         10 North Senate Avenue, SE200                 Indianapolis, IN 46204
Indianapolis, IN 46204-2253              Indianapolis, IN 46204-2277


Industrial Specialties                   Internal Revenue Service                      Internal Revenue Services
9621 White Hill Ct.                      230 South Dearborn, Room 2560                 230 South Dearborn, Room 2560
Fort Wayne, IN 46804-5953                5014 CHI                                      5014CHI
                                         Chicago, IL 60604                             Chicago, IL 60604


J & K COMMUNICATIONS INC.                J & L INDUSTRIAL SUPPLY                       J E BEARING AND MACHINE LTD.
222 S. TOWER VIEW DRIVE                  PO BOX 3359                                   68 SPRUCE STREET
COLUMBIA CITY, IN 46725                  LIVONIA, MI                                   TILLSONBURG, ON N4G 4H8



J-LENCO INC                              JACKSON-HIRSH INC                             JANET F. BORDEN
664 N HIGH STREET                        700 ANTHONY TRAIL                             P.O. BOX 770570
LARUE, CH 43332                          NORTHBROOK, IL 60062-2542                     STEAMBOAT SPRINGS, CO 80477
                              Case 04-10427-reg   Doc 624         Filed 04/14/05     Page 13 of 23
JET EXPRESS INC.                          JOHN A. FINK                                  James Godschalk
4518 WEBSTER STREET                       271 N. MCCLELLAN STREET, #106                 c/o Beckman Lawson LLP
DAYTON, OH 45414                          P.O. BOX 757                                  Attn: Howard B. Sandler
                                          AUBURN, IN 46706                              P O Box 800
                                                                                        Fort Wayne IN 46801-0800, 46801-0800

Janet F. Borden                           Joe Harmon                                    John A. Fink
c/o Sommer Barnard Ackerson PC            7004 Blackhawk Lane                           c/o Sommer Barnard Ackerson PC
Attn: Jerald I. Ancel                     Fort Wayne, IN 46815                          Attn: Jerald I. Ancel
One Indiana Square, Suite 3500                                                          One Indiana Square, Suite 3500
Indianapolis, IN 46204-2023, 46204-202                                                  Indianapolis, IN 46204-2023, 46204-202

John A. Urbaska Revocable Trust           K M H SYSTEMS                                 KALTENBACH, INC.
c/o Sommer Barnard Ackerson PC            7020 STATE ROUTE 930 EAST                     6775 INWOOD DRIVE
Attn: Jerald I. Ancel                     FT WAYNE, IN 46803                            COLUMBUS, IN 47202
One Indiana Square, Suite 3500
Indianapolis, IN 467204-2023, 467204-2

KEIBLER THOMPSON CORP                     KENDALL ELECTRIC INC                          KENDALLVILLE IRON & METAL INC
ROUTE 66 RR #2R                           PO BOX 46                                     243 E. LISBON ROAD
EXPORT, PA 15632                          AUBURN, IN 46706-0046                         P O BOX 69
                                                                                        KENDALLVILLE IN 46755


KERAMIDA ENVIRONMENTAL INC                KEY EQUIPMENT FINANCE                         KMH SYSTEMS, INC.
330 N COLLEGE AVE                         66 SOUTH PEARL STREET                         7020 SR 930 EAST
INDIANAPOLIS, IN 46202                    ALBANY, NY 12207                              FORT WAYNE, IN 46803



KMH Systems, Inc.                         KONE INC                                      KORTE BROS INC
6900 Poe Ave.                             433 FERNHILL AVE                              620 W COOK RD
Dayton, OH 45414                          FORT WAYNE, IN 46805-1039                     FT WAYNE, IN 46825-3324



KORTE PAPER CO.                           KROGER FOOD STORES                            KUSTOM MACHINING INC.
1819 SOUTH CALHOUN                        1001 WEST SEVENTH STREET                      P.O. BOX 39
FORT WAYNE, IN 46857                      AUBURN, IN 46706                              LEO, IN 46765



Katie Urbaska Revocable Trust             Kendall Electric Inc.                         Kendall Electric Inc.
c/o Sommer Barnard Ackerson PC            131 Grand Truck Ave.                          131 Grand Truck Avenue
Attn: Jerald I. Ancel                     Battle Creek, MI 49016                        Battle Creek, MI 49016
One Indiana Square, Suite 3500
Indianapolis, IN 46204-2023, 46204-202

Kerry L. Flory                            Key Equipment Finance, a division of Key      Khela J. Franklin
03469 County Road 9                       Capital, Inc. assignee for Adirondack         c/o Christopher C. Myers
Bryan, OH 43506                           Leasing Association                           Christopher C. Myers & Associates
                                          Attn: Sal Boscia                              809 S. Calhoun St., Ste. 400
                                          1000 South McCaslin Boulevard, Louisvill      Fort Wayne, IN 46802, 46802

Kimberly E. Parker                        Edmund P. Kos                                 Kurt Hollenbeck
c/o Chistopher C. Myers                   Kos & Associate                               2018 Sweet Cider Road
809 S. Calhoun St., Ste 400               110 West Berry Street                         Fort Wayne, IN 46818
Fort Wayne, IN 46802                      Suite #1904
                                          Fort Wayne, IN 46802
                               Case 04-10427-reg   Doc 624        Filed 04/14/05   Page 14 of 23
L & D INDUSTRIES                           LAB SAFETY SUPPLY INC.                     LBH CHEMICAL & INDUSTRIAL
201 SOUTH FULTON                           PO BOX 1368                                PO BOX 8460
AUBURN, IN 46706                           JANESVILLE, WI 53547-1368                  FT WAYNE, IN 46808-8460



LDM, LOADING DOCK MAINTENANCE              LECO CORPORATION                           LMI TECHNOLOGIES (USA), INC
14819 MILL ROAD                            3000 LAKEVIEW AVENUE                       21455 SUITE 22 MELROSE AVE
FORT WAYNE, IN 46816                       ST. JOSEPH, MI 49085-2396                  SOUTHFIELD, MI 48075



LOUGHEED & ASSOCIATES, INC.                LOUIS PADNOS IRON & METAL CO.              LYMAN STEEL CO.
1017 S. HADLEY ROAD                        P.O. BOX 1979                              P.O. BOX 28340
FORT WAYNE, IN 46804                       HOLLAND, MI 49422-1979                     CLEVELAND, OH 44128



Brian J. Lange                             Stephen E. Lewis                           MACALLISTER MACHINERY CO INC
Schenkel, Tirpak & Kowalczyk               444 E. Main St.                            2418 COLISEUM BLVD W
520 South Calhoun Street                   Fort Wayne, IN 46802                       FORT WAYNE, IN 46808-3648
Fort Wayne, IN 46802-0501


MACDONALD MACHINERY CO INC.                MAGMA FOUNDRY TECHNOLOGIES                 MAGNECO METREL INC
3911 LIMESTONE DRIVE                       2340 SOUTH ARLINGTON HEIGHTS ROAD          PO BOX 176
FORT WAYNE, IN 46809                       ARLINGTON HEIG, IL 60005                   NEGLEY, OH 44441



MAIL-WELL ENVELOPE                         MARJO PLASTICS                             MARLIN LEASING CORP.
4500 TIEDMAN ROAD                          1081 CHERRY STREET                         124 GAITHER DRIVE SUITE 170
CLEVELAND, OH 44144                        PLYMOUTH, MI 48170                         MOUNT LAUREL, NJ 08054



MARLIN LEASING CORP.                       MARPOSS CORPORATION                        MARTIN GRAPHICS
PO BOX 13604                               3300 CROSS CREEK PARKWAY                   P.O. BOX 525
PHILADELPHIA, PA 19101-3604                AUBURN HILLS, MI 48326                     AUBURN, IN 46706



MASTER GAGE & TOOL CO.                     MATERIALS HANDLING EQUIP C                 MCLEAN MIDWEST CORPORATION
112 MAPLEWOOD STREET                       7433 US 30 EAST                            11611 BUSINESS PARK BLVD. N.
DANVILLE, VA 24540                         FT WAYNE, IN 46803                         CHAMPLIN, MN 55316



MCMAHON TIRE                               MCMASTER CARR SUPPLY COMPANY               MCNICHOLS COMPANY
1712 SOUTH WAYNE STREET                    200 AURORA INDUSTRIAL PKWY                 1951 LIVELY BLVD.
AUBURN, IN 46706                           AURORA, OH 44202                           ELK GROVE VILLAGE, IL 60007



MCS Industrial Supply Co.                  MELLON CONSULTANTS                         MET-PAK SPECIALITIES, INC.
75 Maxess Road                             TWO PENNSYLVANIA PLAZA                     2701 S. COLISEUM BLVD., SUITE 117
Melville, NY 11747                         NEW YORK, NY 10121                         FORT WAYNE, IN 46803
                              Case 04-10427-reg   Doc 624        Filed 04/14/05      Page 15 of 23
METALTEC STEEL ABRASIVE CO                MEYER INDUSTRIAL SERVICE                      MICHAEL BARSTOW
41155 JOY ROAD                            616 W MAPLEWOOD DRIVE                         CONSULTANT METALLURGIST
CANTON, MI 48187                          OSSIAN, IN 46777                              1152 SOUTHVALE ROAD
                                                                                        PITTSBURGH, PA 15237-4241


MICHIANA DOOR                             MID-STATE CHEMICAL & SUPPLY CO.               MIDWEST AIR FILTER, INC.
PO BOX 45                                 2100 GREENBRIER LANE                          3630 N. WELLS STREET
STROH, IN 46789-0045                      INDIANAPOLIS, IN 46218                        FORT WAYNE, IN 46808



MIDWEST INSTRUMENT CO INC                 MIDWEST PIPE & STEEL INC                      MILLER AND COMPANY
541 INDUSTRIAL DR                         PO BOX 11558                                  6400 SHAFER COURT, SUITE 500
HARTLAND, WI 53029-0080                   FORT WAYNE, IN 46859                          ROSEMONT, IL 60018



MODERN EQUIPMENT COMPANY                  MONITOR TECHNOLOGIES LLC                      MOTION INDUSTRIES INC
336 SOUTH SPRING STREET                   DRAWER AL-44W320                              3333 EAST WASHINGTON BLVD
PORT WASHINGTON, WI 53074                 ELBURN, IL 60119                              FT WAYNE, IN 46862-2149



MP STEEL INDIANA, LLC                     MPB INDUSTRIES                                MSC INDUSTRIAL SUPPLY CO
PO BOX 876                                505 EAST 31ST STREET                          P.O. BOX 9072
KENDALLVILLE, IN 46755                    ANDERSON, IN 46016                            MELVILLE, NY 11747



MSC Industrial Supply Co.                 MSS SOFTWARE                                  Magneco Metrel Inc.
75 Maxess Road                            5 GREAT VALLEN PARKWAY                        223 Interstate Road
Melville, NY 11747                        MALVERN, PA 19355                             Addison, IL 60101



Maila Davis Megorden Trust                Maile M. Urbaska                              Mark A. Gorney
c/o Sommer Barnard Ackerson PC            c/o Sommer Barnard Ackerson PC                c/o Christopher C. Myers
Attn: Jerald I. Ancel                     Attn: Jerald I. Ancel                         809 S. Calhoun St, Ste. 400
One Indiana Square, Suite 3500            One Indiana Square, Suite 3500                Fort Wayne, IN 46802
Indianapolis, IN 46204-2023, 46204-202    Indianapolis, IN 46204-2023, 46204-202

Mark A. Gorney                            Marlin Leasing Corp.                          Mary K. Rosenbrock
c/o Christopher C. Myers                  Kelly McCarthy, Bankruptcy Administrator      c/o Patrick Procter, Eilbacher Scott
Christopher . Myers & Associates          124 Gaither Drive, Suite 170                  110 West Berry St., Ste. 2202
809 S. Calhoun Street, Suite 400          Mount Laurel, NJ 08054                        Fort Wayne, In 46802
FOrt Wayne, IN 46802, 46802

Maxwell Engineering, Inc.                 McNichols Company                             McNichols Company
dba Allen Pattern Works                   Attn: Dwight Glisson                          PO Box 30300
616 East Wallace Street                   PO Box 30300                                  Tampa, FL 33630-3300
PO Box 10540                              Tampa, FL 33630-3300
Fort Wayne, IN 46803, 46803

Medical Group of Fort Wayne               Michael Polich                                Michigan Department of Treasury
Billing Office                            7822 Ladue Court                              PO Box 30059
PO Box 2505                               Fort Wayne, IN 46804                          Lansing, MI 48909
Fort Wayne, IN 46801-2505
                               Case 04-10427-reg   Doc 624         Filed 04/14/05   Page 16 of 23
Midwest Instrument Co. Inc.                Miller and Company LLC                      Miller and Company LLC
Jeff Heimsch                               Robert Overman                              Robert E. Overman II
PO Box 80                                  9700 W. Higgins Road                        9700 West Higgins, Suite 1000
Hartland, WI 53029                         Suite 1000                                  Rosemont, IL 60018
                                           Rosemont, IL 60018

Moore Medical Corp                         Moore Medical Corporation                   Motion Industries, Inc
Attn: Sharon Schoenberger                  389 John Downey Drive                       1605 Alton Road
PO Box 1500                                PO Box 2740                                 Birmingham, AL 35210
New Britain, CT 06050-1500                 New Britain, CT 06050-2740


NADAPRO INC                                NADAPRO, Inc.                               NATIONAL CITY LEASING CORP.
5020 NOB ROAD                              c/o Gary D. Wohlwend                        101 SOUTH FIFTH STREET
FT WAYNE, IN 46825                         5020 Nob Road                               LOUISVILLE, KY 40202
                                           Fort Wayne, IN 46825


NATIONAL MATERIAL TRADING                  NEFF ENGINEERING CO INC                     NES RENTALS
1965 PRATT BLVD                            7114 INNOVATION BLVD                        8855 BYRON COMMERCE
ELK GROVE VILLAGE, IL 60007                FT WAYNE, IN 46898                          BYRON CENTER, MI 49315



NEWARK INONE                               NIckie L. Hutcherson                        NMHG FINANCIAL SERVICES INC
4410 EXECUTIVE BLVD, SUITE A               340 Lane 101                                7020 HWY 30 EAST
FT WAYNE, IN 46808                         Long Beach Lake                             FORT WAYNE, IN 46803
                                           Fremont, IN 46737


NMHG FINANCIAL SERVICES INC.               NMHG Financial Services, Inc.               NORTHSTAR IMAGING, INC.
44 OLD RIDGEBURY ROAD                      c/o Rubin & Levin, P.C.                     953 WESTGATE DRIVE
DANBURY, CT 06810                          500Marott Center                            ST. PAUL, MN 55114
                                           342 Massachusetts Ave.
                                           Indianapolis, IN 46204-2161

National Serv-All                          National Serv-All                           Ned Donaldson
5000 Smith Road                            Merritt/Hess                                612 Valley Park Drive
Fort Wayne, In 46809                       3907 CR 47                                  Auburn, IN 46706
                                           Auburn, IN 46706


Newcourt Leasing Corp/Cit                  Northbend Pattern Works                     Northern Indiana Trading Company
21146 Network Place                        28080 Ziebler Blvd.                         PO Box 526
Chicago, IL 60673-1211                     West Harrison, IN 47060                     Auburn, IN 46706



O C Tanner                                 OFC CAPITAL                                 OLD FORT SUPPLY CO., INC.
1930 South State Street                    DEPT GA00010                                OLD FORT WAY AT 2000 WAYNE TRACE
Salt Lake City, UT 84115                   PO BOX 530101                               FORT WAYNE, IN 46803
                                           ATLANTA, GA 30353-0101


OMEGA ENGINEERING INC.                     OMNISOURCE CORP-TUSCO                       OSSOLA INDUSTRIALS INC.
ONE OMEGA DRIVE                            2453 HILL AVENUE                            1740 W. SEVENTH STREET
P.O. BOX 4047                              TOLEDO, OH 43607                            GRANITE CITY, IL 62040
STAMFORD, CT 06907-0047
                               Case 04-10427-reg   Doc 624         Filed 04/14/05   Page 17 of 23
OmniSource Corporation                     Overnight Transportation                    Overnite Transportation Co.
C/O Thomas P. Yoder, Esq.                  PO Box 1216                                 PO Box 1216
Barrett & McNagny LLP                      Richmond, VA 23209-1216                     Richmond, VA 23218-1216
215 East Berry Street
Fort Wayne, IN 46802, 46802

PAASO GENERAL EQUIPMENT                    PANGBORN COMPANY                            PARKER GLOVE & SUPPLY, INC
PO BOX 868                                 580 PANGBORN BLVD.                          EAST 4TH STREET
BRIGHTON, MI 48116                         HAGERSTOWN, MD 21742-0380                   AVILLA, IN 46710



PEERLESS METALS POWDERS & ABRASIVES        PERFECTION SERVO HYDRAULIC                  PERKINS SEPTIC AND DRAIN SERVICE
P.O. BOX 09254                             1010 WEST REPUBLIC DRIVE                    0375 CR 11
DETROIT, MI 48209                          ADDISON, IL 60101                           HUDSON, IN 46747



PFLAUMER BROTHERS INC                      PHC INDUSTRIES INC.                         PHC Industries Inc.
398 CLARKSVILLE ROAD                       3115 PITTSBURG STREET                       PO Box 11225
PRINCETON JCT., NJ 08550                   FORT WAYNE, IN 46825                        Fort Wyane, IN 46856-1225



POWERED EQUIPMENT AND REPAIR               PRANGER ENTERPRISES INC                     PRECISION CALIBRATION COMPANY
600 VOORHEES                               PO BOX 366                                  7656 MILLINER COURT
PO BOX 147                                 ASHLEY, IN 46705                            PLAINFIELD, IN 46168
TERRE HAUTE, IN 47808-0147


PRECISION STEEL SERVICES                   PROJECT MANAGEMENT SERVICES                 PROXTRONICS DOSIMETRY LLC
4334 EARTH DRIVE                           P.O. BOX 398                                7200 FULLERTON ROAD
FT. WAYNE, IN 46809                        MCDONALD, OH 44437-0398                     SPRINGFIELD, VA 22150



PSA Quality Systems, INc.                  PWC FABRICATION                             Parkview Occupational Health
5615 Enterprise Drive                      2121 WAYNE HAVEN AVENUE                     3103 East State Street
Lansing, MI 48911                          FORT WAYNE, IN 46803                        Fort Wayne, In 46805



Pension Benefit Guaranty Corporation       Perfection Servo Hydraulic                  Perfection Servo Hydraulics
Attn: Brad Rogers, Attorney                1290 Lyon Road                              1290 Lyon Rd.
Office of the General Counsel, Suite 340   Batavia, IL 60510                           Batavia IL, 60510
1200 K Street, N.W.
Washington, DC 20005-4026, 20005-4026

Print Shop                                 Patrick L. Proctor                          QHG OF FT WAYNE, INC REDIM
825 Northwood Blvd.                        Eilbacher Fletcher LLP                      315 EAST COOK ROAD
Fort Wayne, IN 46805                       803 South Calhoun Street, Ste 400           FORT WAYNE, IN 46825
                                           Fort Wayne, IN 46802


QMS-CUSTOMER SERVICE                       QUALITY CALIBRATION SERVICE                 R I LAMPUS CO
300 GALLERIA OFFICENTER, S                 10205 WEST GREENFIELD AVENUE                816 RAILROAD ST
SOUTHFIELD, MI 48034                       WEST ALLIS, WI 53214                        SPRINGDALE, PA 15144
                               Case 04-10427-reg   Doc 624        Filed 04/14/05   Page 18 of 23
R I Lampus Co.                             R.S. Corcoran Company                      RA MUELLER INC.
816 Railroad St.                           500 N. Vine Street                         11270 CORNELL PARK DRIVE
Springdale, PA 15144                       P.O. Box 429                               CINCINNATI, OH 45242
                                           New Lenox, IL 60451-0429


RADIO SHACK                                REDIMED DEKALB, LLC                        REFCO INC
1025 W 7TH ST                              AMIC                                       PO BOX 12867
AUBURN, IN 46706                           500 S. GRANDSTAFF SUITE G                  PITTSBURAH, PA 15241
                                           AUBURN, IN 46706


REILLEY TRUCKING                           RELIABLE CORPORATION                       RENCO MACHINE CO INC
7431 BENT WILLOW DRIVE                     1001 WEST VAN BUREN STREET                 1421 EASTMAN AVE
FORT WAYNE, IN 46815                       CHICAGO, IL 60607                          GREEN BAY, WI 54302



RENO REFRACTORIES, INC.                    RICHARD SQUIER PALLETS INC                 RUDD EQUIPMENT COMPANY
PO BOX 201                                 3992 CR24                                  P.O. BOX 32427
MORRIS, AL 35116                           WATERLOO, IN 46793                         LOUISVILLE, KY 40232



RUMFORD INDUSTRIAL GROUP INC.              RYTEC CORPORATION                          RadioShack Credit Services
PO BOX 752288                              PO BOX 403                                 Attn: Judy Wong
DAYTON, OH 45475                           JACKSON, WI 53037                          300 RadioShack Circle Mail Stop 5018
                                                                                      PO Box 961090
                                                                                      Fort Worth TX 76161-5018, 76161-5018

Marlene Reich(DKW)                         Richard Squier Pallets Inc.                Brad Rogers
Sommer, Barnard                            2522 US Hwy 6 West                         Pension Benefit Guaranty Corporation
One Indiana Square                         PO Box 668                                 1200 K Street, N.W.
Suite 3500                                 Waterloo, IN 46793                         Suite 340
Indianapolis, IN 46204                                                                Washington, DC 20005-4026

Ronald J. Osbun                            S & S TIRE CO INC.                         S &SOILCO INC
c/o Christopher C. Myers & Associates      1100 WEST 7TH STREET                       821 LAKESHORE AVENUE
809 South Calhoun Street, Suite 400        AUBURN, IN 46706                           AUBURN. IN 46706
Fort Wayne, IN 46802


S D MYERS                                  SAFETY - KLEEN CORP                        SAFETY-KLEEN SYTEM, INC.
180 SOUTH AVENUE                           PO BOX 12349                               5400 LEGACY DR.
TALLMADGE, OH 44278                        COLUMBIA, SC 29211-2349                    CLUSTEN II BLDG 3
                                                                                      PLANO TX 75024


SCHENKEL & SONS INC                        SCHUST ENGINEERING INC.                    SCIOTO VALLEY PACKAGING, LLC
1120 ST MARY S AVENUE                      701 NORTH STREET                           5151 REED ROAD NE, SUITE 210A
FT WAYNE, IN 46808                         AUBURN, IN 46706                           COLUMBUS, OH 43220



SCOTT INDUSTRIAL SYSTEMS INC               SECURITY LOCKNUT INC                       SENTINEL FLUID CONTROLS
521 N AIRPORT OFFICE PARK                  9650 WEST FOSTER AVENUE                    7114 INNOVATION BOULEVARD
FT WAYNE, IN 46825                         CHICAGO, IL 60656                          FORT WAYNE, IN 46818
                              Case 04-10427-reg   Doc 624        Filed 04/14/05    Page 19 of 23
SES LLC TECHNICAL GROUP                   SHAMBAUGH & SONS INC                        SHELLS INC.
PO BOX 8413                               P0 BOX 1287                                 502 OLD U.S. HWY 30 EAST
FORT WAYNE, IN 46898                      FT WAYNE, IN 46801                          BOURBON, IN 46504



SHERRY LABORATORIES                       SIMPLICITY ENGINEERING IN                   SPECTRO ANALYTICAL INSTRUMENTS, INC.
2203 SOUTH MADISON                        212 S. OAK                                  160 AUTHORITY DRIVE
MUNCIE, IN 47307                          DURAND, MI 48429-0257                       FITCHBURG, MA 01420



SPECTRUM ENGINEERING CORP                 SPRAYING SYSTEMS COMPANY                    SPRINKLING CAN
17420 TONKEL ROAD                         C O HARRIMAN AVE                            233 SOUTH MAIN STREET-
LEO, IN 46765-9779                        P.O. BOX 348                                AUBURN, IN 46706
                                          AUBURN, IN 46706


STACLEAN DIFFUSER COMPANY                 STAG IRON AND METAL CORP                    STAG Iron & Metal Corp.
PO BOX 1147                               7820 WEST 60TH PLACE                        Deer & Stone, P.C.
SALISBURY, NC 28144                       SUMMIT, IL 60501                            130 S. Jefferson Street, Suite 501
                                                                                      Chicago, IL 60661


STATES ENGINEERING CORP                   STERICYCLE INC                              STRUERS INC
10216 AIRPORT DRIVE                       1301 E ALEXIS ROAD                          24766 DETROIT ROAD
FORT WAYNE, IN 46819                      TOLEDO, OH 43612                            WESTLAKE, OH 44145



STURGIS IRON & METAL                      SUPERIOR BUSINESS SOLUTION                  SYSTEM CLEAN INC.
70675 CENTERVILLE ROAD                    PO BOX 8040                                 50602 NORTH MICHIGAN ROAD
STURGIS, MI 49091-0579                    FT WAYNE, IN 46898-8040                     SOUTH BEND, IN 46637-1532



Schenkel & Sons Inc                       Scioto Valley Packaging, LLC                Secretary of Treasury
Brian J. Lange, Esquire                   PO Box 497                                  15th & Pennsylvania Avenue
Schenkel Tirpak & Kowalczyk               Clinton, NC 28329                           Washington DC 20220
520 South Calhoun Street
Fort Wayne, IN 46802, 46802

Securities & Exchange Commission          Sentinel Fluid Controls                     Shambaugh & Son, L.P.
Bankruptcy Section                        5702 Opportunity Drive                      7614 Opportunity Drive
175 W. Jackson Blvd., Suite 900           Toledo, OH 43612                            Post Office Box 1287
Chicago IL 60604                                                                      Fort Wayne,


Shambaugh & Son, L.P.                     Sheela B. Davis Trust                       Tricia A. Sherick
Post Office Box 1287                      c/o Sommer Barnard Ackerson PC              Honigman, Miller, Schwartz and Cohn LLP
Fort Wayne, Indiana 46801                 Attn: Jerald I. Ancel                       2290 First National Bldg.
                                          One Indiana Square, Suite 3500              660 Woodward Avenue
                                          Indianapolis, IN 46204-2023, 46204-202      Detroit, MI 48226

Grant F. Shipley                          Sierra Poindexter                           Spectrum Engineering Corp
233 West Baker Street                     c/o Christopher C. Myers & Associates       5524 North County Line Road
Fort Wayne, IN 46802-3413                 809 South Calhoun Street, Suite 400         Auburn, IN 46706-9302
                                          Fort Wayne, IN 46802
                              Case 04-10427-reg   Doc 624        Filed 04/14/05     Page 20 of 23
Staclean Diffuser Co., LLC                State of Michigan                            Steel Equipment Specialists LLC
PO Drawer 1147                            UIA Tax Office                               P.O. box 2148
Salisbury, NC 28145-1147                  POC Unit - Suite 11-500                      1507 Beeson St.
                                          Detroit, MI 48202                            Alliance, OH 44601


Stericycle Inc.                           Sturgis Iron & Metal Co., Inc.               Richard J. Swanson
13975 Polo Trail Dr #201                  c/o P. Joseph Haas, Jr.                      Macey, Swanson & Allman
Lake Forest IL 60045                      112 S. Monroe Street                         445 North Pennsylvania Street
                                          Sturgis, MI 49091                            Suite 401
                                                                                       Indianapolis, IN 46204-1800

System Clean, Inc                         T & L SHARPENING INC                         T & M EQUIPMENT CO INC
50602 N. Michigan St.                     2663 S FREEMAN ROAD                          2880 EAST 83RD PLACE
South Bend, IN 46637                      MONTICELLO, IN 47960                         MERRILLVILLE, IN 46410



T.T.G. PATTERN                            TAYLOR RENTAL AUBURN                         TEC-HACKETT, INC.
5443 KEYSTONE DRIVE                       2224 STATE ROAD 8 WEST                       P.O. BOX 8830
FORT WAYNE, IN 46825                      AUBURN, IN 46706                             FORT WAYNE, IN 46898-8830



TELEMOTIVE INDUSTRIAL CONTROLS            THOMAS E. KELLER TRUCKING INC.               TIME INDUSTRIAL INC
175 WALL STREET                           1160 CARPENTER ROAD                          6422 LIMA ROAD
GLENDALE HEIGHTS, IL 60139-1985           DEFIANCE, OH 43512                           FORT WAYNE, IN 46818



TIMOTHY S. BORDEN                         TOOLING & EQUIPMENT INTERNATIONAL            TPC WIRE & CABLE
P.O. BOX 770570                           12550 TECH CENTER DRIVE                      7061 EAST PLEASANT VALLEY ROAD
STEAMBOAT SPRINGS, CO 80477               LIVONIA. MI 48150-2193                       INDEPENDENCE, OH 44131



TRANE COMPANY                             TRI STATE COMPRESSED AIR SYSTEMS, IN         TRI-STATE INSTRUMENT SERVICE
ROHAN TRANE SERVICE AGENCY, INC.          1608 EISHENHOWER DRIVE SOUTH                 3024 WAYNE TRACE
6602 INNOVATION BLVD.                     GOSHEN, IN 46526-5360                        P.O. BOX 6068
FORT WAYNE, IN 46818-1389                                                              FORT WAYNE, IN 46896


TROJAN HEAT TREAT                         Taylor Rental Center, Inc.                   The New Keibler Thompson Co.
809 S. BYRON ST                           2224 St. Rd. 8                               Route 66 RR#2
HOMER, MI 49245                           Auburn, IN 46706                             Box264A
                                                                                       Export, PA 15632


Time Industrial, Inc.                     Timothy S. Borden                            Trevor Meeks Agency
c/o Roy F. Kiplinger                      c/o Sommer Barnard Ackerson PC               c/o Sommer Barnard Ackerson PC
Beers Mallers Backs & Salin, LLP          Attn: Jerald I. Ancel                        Attn: Jerald I. Ancel
110 W. Berry Street, Suite 1100           One Indiana Square, Suite 3500               One Indiana Square, Suite 3500
Fort Wayne, IN 46802, 46802               Indianapolis, IN 46204-2023, 46204-2023      Indianapolis, IN 46204-2023, 46204-202

Ellen L. Triebold                         U.S. Attorney Office                         UNIMIN CORPORATION
Office of the United States Trustee       3128 Federal Building                        809 MYERS ROAD
One Michiana Square, Suite 555            1300 South Harrison Street                   ARCHBOLD, OH 43502
100 East Wayne Street                     Fort Wayne IN 46802
South Bend, IN 46601
                              Case 04-10427-reg   Doc 624         Filed 04/14/05    Page 21 of 23
UNITED PARCEL SERVICE                     US CARGO MANAGEMENT INC.                     US INSPECTION SERVICES
P.O. BOX 505820                           PHILADELPHIA INTERNATIONAL AIRPORT           705 ALBANY STREET
THE LAKES, NV 88905-5820                  P.O. BOX 277                                 DAYTON, OH 45408
                                          ESSINGTON, PA 19029


US PATTERN COMPANY INC                    USF Holland, Inc                             Unimin Corporation
P0 BOX 220                                750 E. 40th Street                           258 Elm Street
RICHMOND, MI 48062                        Holland, MI 49423                            New Canaan, CT 06840



United Parcel Service                     Universal Am-Can Ltd.                        VAN DYNE CROTTY, INC.
c/o D&B/RMS Bankruptcy Services           PO Box 2007                                  3115 INDEPENDENCE DRIVE
PO Box 4396                               Warren, MI 48090                             FORT WAYNE, IN 46808
Timonium, Maryland 21094


VESUVIUS USA CORP.                        VIBES TECHNOLOGIES INC.                      VWR INTERNATIONAL, INC.
661 WILLET ROAD                           7125 NORTHLAND TERRACE NORTH, SUITE 400      PO BOX 66929, O HARE AMF
BUFFALO, NY 14218                         BROOKLYN PARK, MN 55428                      CHICAGO, IL 60666



VWR International, Inc.                   Van Dyne Crotty Inc.                         Vericore L.L,C.
1230 Kennestone Circle                    3233 Newmark Dr.                             1200 W. Causeway Approach
Marietta, GA 30066                        Miamisburg, OH 45342                         Mandevill, CA 70471



Vesuvius USA Corporation                  W.W. GRAINGER, INC.                          WALMAN OPTICAL CO
Steven Del Cotto, Esquire                 7300 N MELVINA AVE M530                      PO BOX 9440
27 Noblestown Road                        NILES IL 60714-3998                          MINNEAPOLIS, MN 55440
Carnegie, PA 15106


WARSAW ENGINEERING & FABRICATING          WATER SCIENCES                               WAYNE FASTENERS INC
2780 E. DURBIN STREET                     PO BOX 15489                                 2725 INDEPENDENCE DRIVE
WARSAW, IN 46581-1043                     FT WAYNE, IN 46885                           FT WAYNE, IN 46808



WAYNE PIPE & SUPPLY INC                   WELDER SERVICES INC                          WESTPORT HARDNESS & GAGING
1815 SOUTH ANTHONY BLVD                   1725 EDSALL AVENUE                           510 MONTAUK HWY
FT WAYNE, IN 46803                        FT WAYNE, IN 46896                           WEST ISLIP, NY 11795



WEYERHAEUSER CO.                          WHEELABRATOR ABRASIVES INC                   WHEELABRATOR CANADA INC.
2626 CR 71                                1 ABRASIVE AVE                               401 WHEELABRATOR WAY
BUTLER, IN 46721                          BEDFORD, VA 24523                            MILTON, ONTARIO, L9T487



WIESE PLANNING & ENG., INC.               WILLIAM C WEBER & ASSOC IN                   WILLIAM E. FINK
2725 INDEPENDENCE DRIVE                   CONSTITUTION HILL OFFICE PARK                P.O. BOX 826
FORT WAYNE, IN 46808                      6201 CONSTITUTION DRIVE                      AUBURN, IN 46706
                                          FT WAYNE, IN 46804
                            Case 04-10427-reg      Doc 624      Filed 04/14/05   Page 22 of 23
WISE INTERNATIONAL IDEAL LEAS              Warsaw Engineering & Fabricating         Wayne Fasteners Inc.
2807 GOSHEN ROAD                           c/o Scott R. Leisz                       2611 Independence Dr.
FORT WAYNE, IN 46808                       Bingham McHale LLP                       Ft. Wayne, IN 46808
                                           10 W. Market, #2700
                                           Indianapolis, IN 46204, 46204

W. Erik Weber                              Mark Werling(DM)                         Mark A. Werling(TW)
Mefford and Weber, P.C.                    Baker & Daniels                          111 East Wayne Street
130 East 7th Street                        111 East Wayne Street, #800              Suite 800
P.O. Box 667                               Fort Wayne, IN 46802                     Fort Wayne, IN 46802
Auburn, IN 46706

Elizabeth A. Whelan                        William C. Weber & Associates, Inc       William E. Fink
Office of the Attorney General             William/Suzanne Weber                    c/o Sommer Barnard Ackerson PC
Indiana Government Center South, 5th Fl.   6201 Constitution Dr.                    Attn: Jerald I. Ancel
302 W. Washington Street                   Fort Wayne, IN 46804                     One Indiana Square, Suite 3500
Indianapolis, IN 46204                                                              Indianapolis, IN 46204-2023, 46204-202

XRI TESTING                                XRI TESTING - TROY                       James T. Young
8327 RELIABLE PARKWAY                      MOBILEX, LLC                             RUBIN & LEVIN, P.C.
CHICAGO, IL 60686-0083                     1961 THUNDERBIRD                         342 Massachusetts Avenue, Ste. 500
                                           TROY, MI 48084                           Indianapolis, IN 46204-2161


plant
2222 west
naumee
               Case 04-10427-reg   Doc 624       Filed 04/14/05   Page 23 of 23




                                        BAKER & DANIELS

                                        By: /s/ John R Burns, III
                                              John R Burns, III (#3016-02)
                                              Mark A. Werling (#20426-02)
                                              111 East Wayne Street, Suite 800
                                              Fort Wayne, Indiana 46802
                                              Telephone: (260) 424-8000
                                              Facsimile: (260) 460-1700

                                        ATTORNEYS FOR THE DEBTOR,
                                        AUBURN FOUNDRY, INC.




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